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                 IN THE UNITED STATES COURT FOR FEDERAL CLAIMS
                                  _____________

                                            No. 20-935 T

                                (Senior Judge Marian Blank Horn)

                       MATTHEW AND KATHERINE CHRISTENSEN,

                                                                  Plaintiffs,

                                                  v.

                                     THE UNITED STATES,
                                                                  Defendant

                             _________________________________

                     UNOPPOSED MOTION FOR EXTENSION OF TIME
                         _________________________________


       Defendant, the United States of America, pursuant to RCFC 6(b), respectfully moves for

an extension of 30 days, from November 28, 2020, to and including December 28, 2020, of the

deadline for defendant to file its answer to the complaint in the above captioned case. One prior

enlargement of this deadline has been granted, for a period of 60 days. Defendant’s counsel has

contacted plaintiff’s counsel who has indicated that plaintiffs do not object to this enlargement

provided that defendant agrees not to seek any further enlargements of this deadline. Defendant

agrees that it will not seek a further enlargement.

       As reason for this motion, defendant states that its counsel has been advised that the IRS

is having trouble accessing the administrative files related to this case due to staffing problems

associated with the pandemic. Having those files would allow defendant’s counsel to prepare a

meaningful response to the allegations in the complaint, as well as to determine whether there are

any jurisdictional issues that might call for the filing of a motion to dismiss rather than an
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answer. Also, given the complexity of the legal issue(s) raised in the complaint, including the

interpretation of the tax treaty between the United States and France, the IRS requires more time

to finalize its position regarding the legal issue(s). Defendant’s counsel has been advised that the

IRS Chief Counsel’s Office expects to forward a partial defense recommendation regarding the

legal issue(s) in early December.


       In light of the condition imposed by plaintiffs on their consent to the requested

enlargement, defendant plans to file an answer that is as meaningful as possible in the

circumstances, on December 28. If the administrative files are received before that date,

defendant could possibly file a motion to dismiss in lieu of an answer on that date.


       WHEREFORE, defendant respectfully requests that the deadline for defendant to answer,

or otherwise respond to, the complaint in this case be extended to December 28, 2020.


                                      Respectfully submitted,

Dated: November 9, 2020                 s/Benjamin C. King, Jr.
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